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                       IN THE UNITED STATES DISTRICT COURT
 7
                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,          )         2:06-cr-441-GEB-EFB
                                        )
10                       Plaintiff,     )         ORDER TO SHOW CAUSE
                                        )         ISSUED TO COUNSEL ADAM D.
11        v.                            )         FEIN AND DEFENDANT HAYLES
                                        )
12   DONALD HAYLES, a.k.a. DONALD       )
     FOUCHE, “D”,                       )
13                                      )
                         Defendant.     )
14   ___________________________________)
15
16               Neither Adam D. Fein, (counsel for Defendant Donald
17   Hayles) nor Defendant Hayles appeared at the status hearing
18   scheduled in this action at 9:00 a.m. on March 14, 2008.          Nor has
19   attorney Fein responded to the Order filed on March 7, 2008, that
20   required Mr. Fein to explain his apparent failure to submit a pro
21   hac vice application in connection with his representation of
22   Defendant Hayles, and his failure to appear at two previous
23   hearings.
24               Therefore, the issue of whether attorney Adam D. Fein
25   should continue to be counsel for Defendant Hayles will be
26   discussed at a status hearing scheduled to commence at 9:00 a.m. in
27   Courtroom 10 on March 21, 2008.      Both attorney Adam D. Fein and
28   Defendant Donald Hayles shall appear at that hearing.          If Defendant


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 1   Hayles fails to personally appear at that hearing, a bench warrant
 2   could be issued for his arrest, since one of Defendant Hayles’
 3   release conditions is that he “shall appear on time at all
 4   proceedings as required . . . .”         If attorney Adam Fein fails to
 5   appear at said hearing, his non-compliance with court orders could
 6   be determined to constitute interference with the orderly
 7   administration of justice in this case, a persistent failure to
 8   comply with orders requiring his appearance at hearings, and a
 9   complete disregard of the requirement in a previous order that he
10   explain why he has not submitted a pro hac vice application in
11   connection with his representation of defendant Hayles (nothing in
12   the docket indicates that a pro hoc vice application has been
13   submitted).      Accordingly, Adam Fein could be relieved as attorney
14   for Defendant Hayles.
15                IT IS SO ORDERED.
16   Dated:     March 14, 2008
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18                                      GARLAND E. BURRELL, JR.
                                        United States District Judge
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